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                   Exhibit V
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                                          More people are living in123-25
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                                                                                 in NYC and                Page 4 of 8
                                                                                            Boston. Here's where.




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https://www.ctinsider.com/projects/2025/connecticut-live-work/                                                                                         3/7
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